  Case 3:14-cr-00128-CCC   Document 67   Filed 03/23/15   Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                         CRIMINAL 14-0128-2CCC
1) ROBERTO PIZARRO-GALARZA
2) NEYSHMA CARMONA-
ARIZMENDI
Defendants


                                  ORDER

     Having considered the Report and Recommendation filed on March 5,
2015 (docket entry 61) on a Rule 11 proceeding of defendant [2] Neyshma
Carmona-Arizmendi before U.S. Magistrate-Judge Marcos E. López on
February 25, 2015, to which no objection has been filed, the same is
APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that her plea was voluntary and intelligently entered with
awareness of her rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since February 25, 2015. The sentencing
hearing is set for May 26, 2015 at 4:40 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
  Case 3:14-cr-00128-CCC    Document 67     Filed 03/23/15   Page 2 of 2




CRIMINAL 14-0128-2CCC                   2

unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on March 23, 2015.



                                     S/CARMEN CONSUELO CEREZO
                                     United States District Judge
